                 Case 5:15-cr-00226-EJD Document 101 Filed 01/11/16 Page 1 of 3

                                       Office of the Clerk
                      United States Court of Appeals for the Ninth Circuit
                                     Post Office Box 193939
                              San Francisco, California 94119-3939
                                          415-355-8000
Molly C. Dwyer
Clerk of Court                          January 08, 2016


       No.:         16-10010
       D.C. No.: 5:15-cr-00226-EJD-1
       Short Title: USA v. Douglas York


       Dear Appellant/Counsel

       A copy of your notice of appeal/petition has been received in the Clerk's office of
       the United States Court of Appeals for the Ninth Circuit. The U.S. Court of
       Appeals docket number shown above has been assigned to this case. You must
       indicate this Court of Appeals docket number whenever you communicate with
       this court regarding this case.

       Please furnish this docket number immediately to the court reporter if you place an
       order, or have placed an order, for portions of the trial transcripts. The court
       reporter will need this docket number when communicating with this court.

       Failure of the appellant to comply with the time schedule order may result in
       dismissal of the appeal.

       Please read the enclosed materials carefully.
        Case 5:15-cr-00226-EJD Document 101 Filed 01/11/16 Page 2 of 3




                   UNITED STATES COURT OF APPEALS
                                                                      FILED
                           FOR THE NINTH CIRCUIT
                                                                      JAN 08 2016
                                                                     MOLLY C. DWYER, CLERK
                                                                      U.S. COURT OF APPEALS




 UNITED STATES OF AMERICA,                      No. 16-10010

               Plaintiff - Appellee,
                                                D.C. No. 5:15-cr-00226-EJD-1
   v.                                           U.S. District Court for Northern
                                                California, San Jose
 DOUGLAS STROMS YORK,
                                                TIME SCHEDULE ORDER
               Defendant - Appellant.



The parties shall meet the following time schedule.

If there were reported hearings, the parties shall designate and, if necessary, cross-
designate the transcripts pursuant to 9th Cir. R. 10-3.2. If there were no reported
hearings, the transcript deadlines do not apply.

Thu., January 28, 2016        Transcript shall be ordered.
Mon., February 29, 2016       Transcript shall be filed by court reporter.
Thu., April 7, 2016           Appellant's opening brief and excerpts of record
                              shall be served and filed pursuant to FRAP 32 and
                              9th Cir. R. 32-1.
Mon., May 9, 2016             Appellee's answering brief and excerpts of record
                              shall be served and filed pursuant to FRAP 32 and
                              9th Cir. R. 32-1.

The optional appellant's reply brief shall be filed and served within fourteen
days of service of the appellee's brief, pursuant to FRAP 32 and 9th Cir. R.
32-1.
       Case 5:15-cr-00226-EJD Document 101 Filed 01/11/16 Page 3 of 3
Failure of the appellant to comply with the Time Schedule Order will result in
automatic dismissal of the appeal. See 9th Cir. R. 42-1.

                                             FOR THE COURT:
                                             Molly C. Dwyer
                                             Clerk of Court

                                             Wendy Lam
                                             Deputy Clerk
